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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION
UNITED STATES OF AMERICA
Vv. 3:07cr1 14/LAC

JUSTIN ERIC KING

 

DEFENDANT’S PROPOSED JURY INSTRUCTIONS

COMES NOW defendant, JUSTIN ERIC KING, by and through her
court-appointed counsel, and pursuant to the pretrial order entered in the
case above proposes that the following jury instructions for trial of this
cause:

1, Basic Instructions: 1; 2.1 or 2.2; 3; 4.2; 5; 6.2; 7; 8; 9.1; 10.2; 11
and 12;

2. Special Instructions: 1.1; 1.2; 2.1; 4 Gf Rule 404(b) evidence
admitted), 5.

3. Offense Instructions: 13.1, 50.1. and proposed instructions

submitted separately herewith.

 

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I HEREBY CERTIFY that a copy of the foregoing has been furnished
to Tiffany Eggers, AUSA, 21 East Garden Street, Suite 400, Pensacola, FL

32502-5676 by hand delivery this 26" day of November, 2007.

 

SPIRO THEODGRE KYPREOS
CJA Panel Attorney

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Fla. Bar No. 135237
